   Case 17-22775-GLT          Doc 47    Filed 12/08/17 Entered 12/08/17 10:04:05               Desc Main
                                        Document     Page 1 of 2
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
  IN RE:                                              Chapter 7 Proceeding
  Ronald L McFeaters
                           Debtor                     17-22775 GLT
  Natalie Lutz Cardiello, Esquire
                           Movant
  v.
  PENNYMAC LOAN SERVICES, LLC
                           Respondent

                   RESPONSE TO CHAPTER 7 TRUSTEE’S
  APPLICATION TO EMPLOY (2)BK GLOBAL REAL ESTATE SERVICES AND JAMES
                        KEFFALAS AS REALTOR

       AND NOW, comes PENNYMAC LOAN SERVICES, LLC (Respondent) by and through its
counsel, POWERS, KIRN & ASSOCIATES, LLC, (Jill Manuel-Coughlin, on behalf of the firm), and
hereby Objects/Responds to Application to Employ (2)BK Global Real Estate Services and James
Keffalas as Realtor and avers the following:
       1.   Denied as stated. By way of further response, on 11/14/2017, this Court entered an Order
            Granting Respondent Relief from the Automatic Stay to proceed with its Foreclosure action
            against the property located at 102 Ethan Hill Drive, Harrisville, PA 16038.
       2. Denied.
       3. Admitted.
       4. Admitted.
       5. Admitted.
       6. Admitted.
       7. Admitted in part, Denied in part. Respondent admits that there is no equity in the Property.
            By way of further response, Respondent filed its Motion for Relief on 10/17/2017 indicating
            a current amount due on this account as of 9/18/2017 in the amount of $171,951.24.
       8. Denied. Respondent does not Consent nor agree to pay the Trustee, any realtors, or other
            parties for any Sale of the mortgaged property where there is clearly no equity in the property
            and it will not be paid its full amount due. The Trustee’s need to sell the Property for a reduced
            payoff is not acceptable to Respondent in as much as it is proceeding with an imminent
            Sheriff’s Sale of the Property.
       9. Denied. On 10/17/2017, this Court granted Respondent Relief from the Automatic Stay to
            proceed with its Foreclosure Action.
   Case 17-22775-GLT         Doc 47    Filed 12/08/17 Entered 12/08/17 10:04:05                  Desc Main
                                       Document     Page 2 of 2
       10. Denied. On 10/17/2017, this Court granted Respondent Relief from the Automatic Stay to
           proceed with its Foreclosure Action.
       11. Denied. Strict Proof of hereby demanded at the time of the hearing.
       12. Denied. Strict Proof of hereby demanded at the time of the hearing.
       13. Denied. Respondent does not consent to payment of any compensations, broker fees, or any
           fees other than the Sheriff’s costs for conducting a judicial foreclosure of the Property.
       14. The allegations of this paragraph do not pertain to Respondent. To extent that a response is
           required, Respondent hereby denies same.
       15. The allegations of this paragraph do not pertain to Respondent. To extent that a response is
           required, Respondent hereby denies same.


       WHEREFORE, Respondent respectfully requests the Honorable Court ORDER:
       The Chapter 7 Trustee’s Application to Employ (2)BK Global Real Estate Services and James
Keffalas as Realtor relating to the property located at 102 Ethan Hill Drive, Harrisville, PA 16038 is
DENIED.

                                                     RESPECTFULLY SUBMITTED,
                                                     POWERS, KIRN & ASSOCIATES, LLC

                                                     /s/ Jill Manuel-Coughlin, Esquire
                                                     POWERS, KIRN & ASSOCIATES, LLC
                                                     Jill Manuel-Coughlin, Esquire; Atty ID # 63252
                                                     Harry B. Reese, Esquire; Atty ID #310501
                                                     8 Neshaminy Interplex, Suite 215
                                                     Trevose, PA 19053
                                                     215-942-2090 phone; 215-942-8661 fax
                                                     jill@pkallc.com/ harry.reese@pkallc.com
                                                     Attorney for Respondent/ 17-0104
                                                     Date: November 22, 2017
